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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:
Case No. l-18-44548-cec
Robinson, Norma, V.
Chapter 13
Debtor.

 

X
OBJECTION TO DEBTOR’S REOUEST FOR LOSS MITIGATION ORDER

l, Michael J. Willey, an attorney admitted to the practice of law in the Eastern District of
New York, am an associate in the law firm Dorf & Nelson LLP, attorneys for Creditor, U.S.
Bank National Association, as Trustee for the C-Bass Mortgage Loan Asset-Bacl<ed Certificates,
Series 2007-MX1 (“U.S. Banl<”), affirms under penalty of perjury as follows:

l. This Objection is submitted in response to the Loss Mitigation request by Debtor
Norma V. Robinson (“Debtor”), purportedly filed on October 12, 2018 (the “ Debtor’s Loss
l\/litigation Request”).

2. According to my review of U.S. Banl<’S records, U.S. Bank is the current owner
and holder of a Note, dated July 21, 2006, originally executed by the Debtor in favor of
JPl\/Iorgan Chase Bank, N.A. (“JPMorgan”) evidencing a debt and promise to repay a loan in the
amount of $412,000.00 (the “Note”).

3. According to my review of U.S. Bank’S records, in order to secure the repayment
of this obligation under the Note on July 21, 2006, the Debtor executed a l\/lortgage in favor of
JPMorgan in the original principal amount of $412,000.00, encumbering real property known as:
190-15 Linden Blvd. Saint Albans, New Yorl< 11412 (the “Collateral”). The mortgage was duly
recorded on June 18, 2009 in the Oftice of the City Register of the City of New Yorl< at CRFN:

2009000185384 (the “Mortgage”).

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4. Subsequently, JPMorgan duly transferred and assigned the Note and l\/lortgage to
U.S. Bank as evidenced by the Assignment of Mortgage dated February 4, 2015, which was duly
recorded on l\/Iay 19, 2015 in the Office of the City Register of the City of New York at CRFN:
2015000166770 (the “Assignment ofl\/lortgage”).

5. According to my review of U.S. Bank’s records, the Debtor defaulted on the
terms of the Note and Mortgage by failing to make payment due on or about Gctober 1, 2013,
and all payments thereafter As a result, U.S. Bank commenced a foreclosure action in the
Supreme Court of the State of New Yorl<, County of Queens, bearing the Index No. 711218/2015
(the “Foreclosure Action”) to foreclose the Collateral.

6. According to my review of U.S. Bank’s records, and based on what has been
represented to me by representatives of chen Loan Servicing, LLC., the servicer for U.S. Bank,
the total outstanding debt owed pursuant to the Note was $559,059.22 as of September 21, 2018.

7. According to my review of U.S. Banl<’s records, the maturity date, as evidenced
under the Note is August 1, 2021.

8. Pursuant to the United States Bankruptcy Court, Eastern District of New Yorl<
E.D.N.Y. General Order #582 Section V(D), the court shall not enter a Loss Mitigation Order
until U.S. Banl<’s objection to Loss Mitigation Request - By Debtor has been heard.

9. This case does not warrant loss mitigation conferences because, put simply, a loan
modification which is the primary basis for a Loss Mitigation Order, is not financially viable
according to the Debtor’s own reported income illustrated bv the Debtor’s own schedules The
Debtor’s petition states that she owns two properties in fee simple. The first is the Collateral that
secures the Note. The second is an investment property located at 119-35 Guy R. Brewer Blvd,

Saint Albans, New York 11412 (the “Debtor’s Second Investment Property”). Debtor lists the

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value of the Collateral at $546,000.00. See Schedule A/B: Property, Part l of Debtor’s Petition.

10. According to Debtor’s petition, Debtor is employed and generates monthly gross
income in the amount of $10,917.00. See Schedule I: Your Incorne, Part 2 of Debtor’s Petition.
In addition, the Debtor purportedly receives a $1,000.00 contribution from a non-filing spouse,
which equates to a total of $11,917.00 in total gross monthly income. Id.

11. Based upon a review of the Debtor’s filings, U.S. Bank’s internal records, and
communications with chen Loan Servicing, LLC, the Debtor’s own expenses prove that a loan
modification is prima facie unaffordable.

l2. U.S. Bank has a process for submission and review of requests for loan
modification which includes a waterfall analysis based on the Debtor’s purported income.

13. Pursuant to Said standards, the Debtor, Debtor’s Submitted Schedules, and
according to my communication with U.S. Bank’s servicer, the Debtor would not qualify for a
modification given her income and expenses Specifically, the Debtor’s alleged gross monthly
income of $11,917.00 is entirely insufficient for U.S. Bank to structure an affordable monthly
mortgage payment As the Court is aware, federal guidelines and most underwriting principles
recommend that any modified monthly payment of Principal, Interest, Taxes and lnsurance
(“PITI”) should not exceed thirty-five (35%) of a Debtor’s gross monthly income. Therefore, in
order for the Debtor to qualify under a modification waterfall analysis, U.S. Bank is required to
structure a modified PITI payment which does not exceed $4,170.95.

14. As will be demonstrated below, based purely on the math, a payment simply
cannot be structured within this range as there are two mortgages for which the Debtor has
obligations towards

15. First, aside from incorporating the principal and interest payments that are

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essential to the terms of a modification; the Debtor is required to make the ongoing taxes and
insurance (“TI”) payments .The taxes alone for the Collateral are in the amount of $4,168.32 per
annum or $347.36 per month. This portion of the Debtor’s monthly mortgage payment is, of
course, non-negotiable and will increase or decrease beyond the control of U.S. Bank. In
addition to taxes, the Debtor is required to maintain insurance for the Collateral, typically costing
another $2,000.00 per year or 8166.66 monthly. So, the estimated total amount of Tl owed
monthly is $514.02.

16. The payoff amount as of September 21, 2018 is $559,059.22 and the maturity date
under the terms of the Note and Mortgage is 2021, and was initially originated as a 15 year loan.
Even if U.S. Bank agreed to re-amortized the debt for a new 15 year term (2018 until 2033), and
charged an interest rate of 4.5% (which is well below market rate) over the duration of that time,
the Debtor’s Principal and Interest payment would be approximately $4,277 (this alone exceeds
the target PITI payment). Once the monthly taxes are added to the principal and interest
payment, it results in a modified monthly mortgage payment of approximately $4,791.02, well
above the PITI target ratio.

17. As a side note, during the course of the Debtor’s default, U.S. Bank has expended

a staggering 829 562.34 in escrow advances as of September 21, 2018 and continues to expend

 

significant resources in the preservation of their interest in the Collateral. While U.S. Bank has
dutifully carried out the Debtor’s obligation to pay taxes and other expenses, the Debtor has

continued to live rent free in the Subject Premises _a_n§ collect rental income without making a

 

single payment towards their obligations under the terms of the Note and Mortgage.
18. For these reasons, U.S. Bank implores this Court to deny another blatant attempt

by the Debtor to delay foreclosure proceedings by submitting a loss mitigation request, full

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knowing that a modification is simply not plausible.

19. lt is noteworthy that neither of the aforementioned calculations disputes the
Debtor’s income as outlined in the filed schedules; although, U.S. Bank submits that the
Debtor’s schedules and purported income is highly questionable

20. Based on the foregoing, U.S. Bank objects to Debtor’s request for loss mitigation,
and request that this Court deny the Debtor’s request for Entry into Loss l\/litigation or the Entry
of a Loss Mitigation Order in its entirety.

WHEREFORE, it is respectfully requested that this Court decline to grant Debtor’s
request for loss mitigation in this matter, and any other and further relief as this court deems just
and proper.

Dated: Rye, New York
October 19, 2018 DORF &,

   

 

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